

People ex rel. Mulry v Franchi (2020 NY Slip Op 02388)





People v Franchi


2020 NY Slip Op 02388


Decided on April 23, 2020


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 23, 2020
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

WILLIAM F. MASTRO, J.P.
JEFFREY A. COHEN
COLLEEN D. DUFFY
LINDA CHRISTOPHER, JJ.


2020-02951

[*1]The People of the State of New York, ex rel. Laurette Mulry, on behalf of David Paterno, petitioner,
vMichael Franchi, etc., respondent.


Laurette D. Mulry, named herein as Laurette Mulry, Riverhead, NY (Agnes Neldner-Ratuszny of counsel), petitioner pro se.
Timothy D. Sini, District Attorney, Riverhead, NY (Thomas C. Costello and Timothy P. Finnerty of counsel), for respondent.



DECISION &amp; JUDGMENT
Writ of habeas corpus in the nature of an application, inter alia, pursuant to CPL 180.80, to release David Paterno in a criminal action pending under Suffolk County Docket No. CR-011626-20SU.
ADJUDGED that the writ is dismissed, without costs or disbursements.
The petitioner has not established that David Paterno is entitled to habeas corpus relief, as the People have demonstrated that Executive Order 202.8 temporarily suspends the operation of CPL 180.80 (see People ex rel Nevins v Brann,  2020 WL 1878094[Sup Ct, Queens County, April 13, 2020]; People v Hood , 2020 NY Slip Op 50384[U][City Court of Poughkeepsie, Dutchess County, April 4, 2020; People ex rel Hamilton v Brann , 2020 NY Slip Op 50392[U][Sup Ct, Bronx County, April 2, 2020]). At this time, under the circumstances presented, we do not address the petitioner's remaining contentions (see County of Riverside v McLaughlin , 500 US 44; Gerstein v Pugh , 420 US 103; People v Hood , supra ).
MASTRO, J.P., COHEN, DUFFY and CHRISTOPHER, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








